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                          IN THE UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MARYLAND
                                      (Baltimore Division)

In re:                                           *

LOGOS, INC.,                                     *       Case No. 22-12491 DER

         Debtor.                                 *       (Chapter 11, Subchapter V)

*        *          *       *     *      *       *       *      *      *      *       *       *

                            NOTICE OF AMENDMENT TO SCHEDULES

         PLEASE TAKE NOTICE that pursuant to Federal Rule of Bankruptcy Procedure 1007

and 1009, Logos, Inc. ("Debtor") has amended the following bankruptcy schedules (the

“Schedules") as set forth in Exhibit 1 attached hereto being:

                         1. Amended Form 201 Voluntary Petition to Change Name of Debtor;
                         2. Form 202 – Declaration under Penalty of Perjury for Non-Individual
                             Debtors;
                         3. Form 206 – Creditors Holding 20 Largest Unsecured Claims;
                         4. Form 206 – Summary of Assets and Liabilities;
                         5. Schedule A/B – Property;
                         6. Schedule D – Creditors Who Have Claims Secured by Property;
                         7. Schedule E/F – Creditors Who Have Unsecured Claims;
                         8. Schedule G – Executor Contracts and Unexpired Leases;
                         9. Verification of Creditor Matrix; and
                         10. Creditor Address Matrix.


    Notice to Creditors who are added to the Schedules, whose address is corrected, or whose
                    status or scheduled claim is changed by an amendment in
                                  Compliance with Rule 1009-1.

         The Debtor is including with this Notice as Exhibit 2 to each creditor who is added, whose

address is corrected, or whose status or scheduled claim is changed by an amendment (1) a copy

of the original Notice for Meeting of Creditors; (2) a copy, if any, of each order that establishes or

extends a bar date for filing proofs of claims or complaints to determine the dischargeability of




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certain debts or to object to the discharge of the debtor and (3) a copy of the amended schedule, if

applicable.


        As set forth in the Certificate of Service attached hereto, notice is hereby given of the filing

 of an amended schedule that adds a previously unscheduled creditor or alters a creditor’s

 scheduled status or claim, in addition to complying with subsection (a) of this Rule, the debtor

 has sent a copy of the amended schedule to the United States Trustee and to any trustee appointed

 in the case.

        The Debtor by filing the undersigned Certificate of Compliance is certifying with this filing

 that either that the (i) an amended schedule; or (ii) a supplemental/amended mailing matrix is in

 compliance with the above Rule, and, if applicable, a dated and clearly titled supplemental

 mailing matrix that lists only the names and correct mailing addresses of each newly scheduled

 and/or amended creditor has been provided.

        The Debtor is also certifying that the amendment to the Debtor’s Schedules to change the

 amount, nature, classification or characterization of a debt owing to a creditor is hereby sent to

 the Debtor’s affected creditors and parties-in-interests and the Debtor hereby gives notice that

 THE CLAIMS BEING AMENDED, AND PROVIDE NOTICE OF THE CREDITOR'S

 RIGHT TO FILE A PROOF OF CLAIM BY THE LATER OF: (I) THE BAR DATE (IF

 ANY); OR (II) EITHER (A) THIRTY (30) DAYS FROM THE DATE OF NOTICE IN A

 CASE PROCEEDING UNDER SUBCHAPTER V; OR (B) SIXTY (60) DAYS FROM THE

 DATE OF THE NOTICE IN ALL OTHER CASES IN CHAPTER 9 AND CHAPTER 11.



                                              Summary




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        PLEASE        TAKE    FURTHER         NOTICE        THAT      CERTAIN       OF    THESE

AMENDMENTS MAY AFFECT THE AMOUNT, CLASSIFICATION, AND/OR

PRIORITY OF ANY CLAIM YOU MAY HAVE AGAINST THE DEBTOR. You should

carefully review the amended Schedules, and consult with your attorney if you need assistance, to

determine if you agree with the amended Schedules. If you agree with the amended Schedules,

you do not need to do anything more at this time. If you believe that the amended Schedules are

incorrect with respect to any claim you believe you hold, you are advised to consult with an

attorney to determine your rights. If you have previously filed a timely and proper Proof of Claim,

then you do not need to file another Proof of Claim.



                                                       Respectfully submitted:


                                                       /s/ Robert B. Scarlett
                                                       Robert B. Scarlett
                                                       Federal Trial Number 01424

                                                       SCARLETT & CROLL, P.A.
                                                       201 N. Charles Street, Suite 600
                                                       Baltimore, Maryland 21201
                                                       (410) 468-3100
                                                       RScarlett@scarlettcroll.com

                                                       Attorneys for the Debtor


                                     Certification of Debtor

        I HEREBY DECLARE, under penalty of perjury, that the attached Amendment of

Schedules is true and correct to the best of my knowledge, personal information, and belief.



Dated: July 26, 2020                                   /s/ Mohammed Jadoo
                                                       Mohammed Jadoo,



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                                                 Vice President of Logos, Inc.




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                                       Certificate of Service

        I HEREBY CERTIFY that on this 26th day of July, 2022, I caused a copy of the foregoing

to be mailed by first class mail, postage prepaid or electronically delivered pursuant to CM/ECF:


Electronic Mail Notice List - Parties in the case only

       Joshua D. Bradley jbradley@rosenbergmartin.com,
        smdenson@rosenbergmartin.com
       Harris Eisenstein heisenstein@rosenbergmartin.com,
        tmckinley@rosenbergmartin.com
       Lawrence A. Katz lkatz@hirschlerlaw.com, llewis@hirschlerlaw.com
       Katherine A. (UST) Levin Katherine.A.Levin@usdoj.gov,
        amy.busch@usdoj.gov
       Robert B. Scarlett RScarlett@ScarlettCroll.com,
        krynarzewski@scarlettcroll.com;scarlettrr64434@notify.bestcase.com
       US Trustee - Baltimore USTPRegion04.BA.ECF@USDOJ.GOV

Email Manual Notice List:

Sysco Baltimore, LLC
Atten: Jill Marshall, Credit Manager
Email: jill.marshall@sysco.com

Paul Weinblatt (paul@weinblattassociates.com)

Paul Cooper (paul@alexcooper.com)


First Class Mail, postage prepaid, Manual Notice List:

See the Court’s creditors’ matrix and matrix of additional creditors attached hereto.


                                                     /s/Robert B. Scarlett
                                                     Robert B. Scarlett




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Label Matrix for local noticing                 Hill Management Services, Inc.                    Logos Incorporated
0416-1                                          c/o Harris W. Eisenstein, Esquire                 510 Market Place Drive
Case 22-12491                                   Rosenberg Martin Greenberg, LLP                   Bel Air, MD 21014-4310
District of Maryland                            25 South Charles Street, 21st Floor
Baltimore                                       Baltimore, MD 21201-3322
Fri Jul 22 17:21:34 EDT 2022
Sandy Spring Bank                               Accent Printers                                   Arbutus Refrigeration
c/o Joshua Bradley                              11110 Pulaski Highway                             2635 Beson Ave
25 S Charles St, 21st Fl                        White Marsh, MD 21162-1812                        Halethorpe, MD 21227
Baltimore, MD 21201-3322


BFPE International                              (p)U S SECURITIES AND EXCHANGE COMMISSION         Brenda Famolaro
7512 Connelley Drive                            ATLANTA REG OFFICE AND REORG                      32 Tolchester Lane
Hanover, MD 21076-1688                          950 E PACES FERRY RD NE STE 900                   Bel Air, MD 21014-4124
                                                ATLANTA GA 30326-1382


Bristol Credit, Inc                             Comcast Internet                                  Comptroller of Maryland - Baltimore
40 York Road, Suite 300                         1702 John F. Kennedy Blvd                         301 West Preston Street, Suite 409
Towson, MD 21204-5266                           Philadelphia, PA 19103-2928                       Baltimore, MD 21201-2396



(p)COMPTROLLER OF MARYLAND                      Department of the Treasury                        Ecolab
BANKRUPTCY UNIT                                 Internal Revenue Service                          1 Ecolab Place
301 W PRESTON ST ROOM 409                       Centralized Insolvency Operation                  Saint Paul, MN 55102-2739
BALTIMORE MD 21201-2383                         PO Box 7346
                                                Philadelphia, PA 19101-7346

GFL Environmental                               Gordon Food Services, Inc.                        Harford County, Maryland
3634 Conowingo Road                             P O Box 2244                                      Department of Law
Street, MD 21154-1942                           Grand Rapids, MI 49501-2244                       220 South Main Street
                                                                                                  Bel Air, MD 21014-3820


Hartford Fire Insurance Company                 Hill Management Services, Inc.                    Hill Management Sevices, Inc.
Bankruptcy Unit, HO2-R, Home Office             c/o Harris W. Eisenstein, Esquire                 9640 Deereco Rd
Hartford, CT 06155-0001                         Rosenberg Martin Greenberg, LLP                   Lutherville Timonium, MD 21093-2120
                                                25 South Charles Street, 21st Floor
                                                Baltimore, Maryland 21201-3322

(p)INTERNAL REVENUE SERVICE                     Ioannis Korologo                                  Jadoo LLC
CENTRALIZED INSOLVENCY OPERATIONS               9618 Susies Way                                   d/b/a Yia Yias Pizzeria
PO BOX 7346                                     Ellicott City, MD 21042-2308                      8415 Philadelphia Road
PHILADELPHIA PA 19101-7346                                                                        Baltimore, MD 21237


Jonathan D. Nelson, Esquire                     Leo’s Produce                                     M&T Bank
Ferguson, Schetelich & Ballew, P.A.             7460 Conowingo Ave.                               626 Commerce Drive
100 S. Charles Street                           Jessup, MD 20794-9361                             Buffalo, NY 14228-2391
Suite 1014
Baltimore, MD 21201-2725

Ray Enterprises                                 SESAC-Music                                       Sandy Spring Bank
318 Astor St                                    PO Box 5246                                       17801 Georgia Ave
Newark, NJ 07114-2823                           New York, NY 10008-5246                           Olney, MD 20832-2267
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Sandy Spring Bank                                    Schindrer Elevators                                  Secretary of the Treasury
Joshua Bradley                                       1730 twin Spring Rd. Suite 222                       15 & Pennsylvania Avenue
Rosenberg Martin Greenberg                           Halethorpe, MD 21227-3551                            Washington, DC 20220-0001
25 South Charles Street
Baltimore MD 21201-3330

State of Maryland DLLR                               Sysco Baltimore, LLC                                 Tanny Seafood
Division of Unemployment Insurance                   8000 Dorsey Run Road                                 146-20 23rd Ave.
1100 N. Eutaw Street, Room 401                       Jessup, MD 20794-9482                                Whitestone, NY 11357-3514
Baltimore, MD 21201-2226


The Hartford Insurance                               Thomas C. Costello, Esquire                          Triantafillos Korologos
690 Asylum Ave                                       Costello Law Group                                   18 Apple Tree Court
Hartford, CT 06155-0002                              409 Washington Ave.                                  Catonsville, MD 21228-5865
                                                     Suite 410
                                                     Towson, MD 21204-4919

U.S. Attorney-District of MD                         US Trustee - Baltimore                               Verizon
4th floor                                            Garmatz Federal Courthouse                           P.O. Box 15124
36 S. Charles St.                                    101 West Lombard Street                              Albany, NY 12212-5124
Baltimore, MD 21201-3020                             Suite 2625
                                                     Baltimore, MD 21201-2668

Alex Cooper                                          Lawrence A. Katz                                     Paul N. Weinblatt
908 York Road                                        Hirschler Fleischer                                  Weinblatt & Associates, P.A.
Towson, MD 21204-2541                                8270 Greensboro Drive                                606 Baltimore Avenue
                                                     Suite 700                                            Suite 305
                                                     Tysons, VA 22102-3835                                Towson, MD 21204-4085

Robert B. Scarlett
Scarlett & Croll, P.A.
201 N. Charles Street
Suite 600
Baltimore, MD 21201-4198



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Branch of Reorganization                             Comptroller of the Treasury                          Internal Revenue Service
Sec. & Exch. Commission                              Compliance Division, Room 409                        Centralized Insolvency Section
3475 Lenox Road NE (Suite 1000)                      301 W. Preston Street                                PO Box 21126 (DP-N-781)
Atlanta, GA 30327-1232                               Baltimore, MD 21201                                  Philadelphia, PA 19114




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)BFPE International                                (u)Jadoo LLC                                         (d)Schindrer Elevators
7512 Connelley Drive                                 INVALID ADDRESS PROVIDED                             1730 twin Spring Rd. Suite 222
Hanover, MD 21076-1688                                                                                    Halethorpe, MD 21227-3551
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ACME Paper Co.                   ANS Seafood                          Ascap
8229 Sandy Court                 4 Williams Street                    PO Box 331608
Jessup, MD 20794                 Elmsford, NY 10523                   Nashville, TN 37203-7515



AT&T                             BGE                                  BMI
208 S. Akard Street              110 W Fayette Street                 10 Music Square East
Dallas, TX 75202-2000            Baltimore, MD 21201                  Nashville, TN 37203-4399



                                                                      Delta Restaurant Equipment
BPS                              BSA Seafood
                                                                      Service LLC
3807 North Point Road            PO Box 460
                                                                      2220 A Jaycee Drive
Dundalk, MD 21222                Grasonville, MD 21638
                                                                      Joppa, MD 21085



Direct TV                        Direct TV                            GFL - Environmental
2230 E. Imperial Hwy             2230 E. Imperial Hwy                 3634 Conowingo Rd
El Segundo, CA 90245             El Segundo, CA 90245                 Street, MD 21154



Golden Malted                    Gordon Food Services, Inc.           Harford County Liquor Control
PO Box 129                       P.O. Box 2244                        16 N. Main Street
Concordville, PA 19331-0128      Port Henry, NY 12974-4200            Bel Air, MD 21014



                                 John C. Cannizzaro, Esquire
J & E Linen                                                           Koros, Inc.
                                 IceMiller
1613 Robin Cir                                                        6300 Baltimore National Pike
                                 250 West Street, Suite 700
Forest Hill, MD 21050                                                 Catonsville, MD 21228
                                 Columbus, OH 43215


                                 L&J Refrigeration and Air
Koros, LLC                                                            Louis Korologos
                                 Conditioning
6300 Baltimore National Pike                                          1 Mountain Road
                                 PO Box 1105
Catonsville, MD 21228                                                 Dundalk, MD 21222
                                 Bel Air, MD 21014


Maryland American Waters                                              Nick Moriatis
                                 Mattes Seafood
260 Gateway Drive                                                     543 Marketplace Drive
                                 921 Old Philadelphia Road
4A                                                                    Bel Air, MD 21014
                                 Aberdeen, MD 21001
Bel Air, MD 21014


                                                                      Roma Gourmet Foods
P. Moriatis                      Roberts Oxygen Company, Inc.
                                                                      6801 Eastern Avenue
543 Marketplace Drive            15830 Redland Road
                                                                      Suite 230
Bel Air, MD 21014                Bel Air, MD 21014
                                                                      Baltimore, MD 21224



Schindler Elevators              SESAC-Music                          Skylight Creative Ideas, Inc.
1730 Twin Spring Rd. Suite 222   PO Box 5246                          13 North Main Street
Halethorpe, MD 21227             New York, NY 10008-5246              Bel Air, MD 21014



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TJL, Inc.                         Tie Mortos, Inc.                     Toast, Inc.
1 Mountain Road                   6300 Baltimore National Pike         401 Park Drive
Pasadena, MD 21122                Catonsville, MD 21228                Boston, MA 02215



                                                                       Harford County
Tyros, Inc.                       Verizon
9010 Bel Air Road                 P.O. Box 15124
                                                                       Bureau of Revenue Collections
Nottingham, MD 21236              Albany, NY 12212                     P.O. Box 609
                                                                       Bel Air, MD 21014

PureForce, a division
Of U.S. Foods
2880 Comly Road
Philadelphia, PA 19154




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                                    EXHIBIT 1
                                    (Amended Schedules)




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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)      22-12491                                        Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Logos, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA 510 Johnnys
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  510 Market Place Drive
                                  Bel Air, MD 21014
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harford                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Logos, Inc.                                                                              Case number (if known)    22-12491
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Logos, Inc.                                                                                   Case number (if known)   22-12491
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                           5001-10,000                                50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

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Debtor   Logos, Inc.                                                            Case number (if known)   22-12491
         Name

                        $50,001 - $100,000                       $10,000,001 - $50 million                $1,000,000,001 - $10 billion
                        $100,001 - $500,000                      $50,000,001 - $100 million               $10,000,000,001 - $50 billion
                        $500,001 - $1 million                    $100,000,001 - $500 million              More than $50 billion




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
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Debtor    Logos, Inc.                                                                              Case number (if known)   22-12491
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 26, 2022
                                                  MM / DD / YYYY


                             X   /s/ Mohammed Jadoo                                                       Mohammed Jadoo
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Vice President




18. Signature of attorney    X   /s/ Robert B. Scarlett                                                    Date July 26, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert B. Scarlett 01424
                                 Printed name

                                 Scarlett & Croll, P.A.
                                 Firm name

                                 201 N. Charles St., Ste. 600
                                 Baltimore, MD 21201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     410-468-3100                  Email address      rscarlett@scarlettcroll.com

                                 01424 MD
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Logos, Inc.

United States Bankruptcy Court for the:     DISTRICT OF MARYLAND

Case number (if known)     22-12491
                                                                                                                               Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 26, 2022                   X /s/ Mohammed Jadoo
                                                           Signature of individual signing on behalf of debtor

                                                            Mohammed Jadoo
                                                            Printed name

                                                            Vice President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                   Case 22-12491               Doc 69          Filed 07/26/22               Page 17 of 50


Fill in this information to identify the case:
Debtor name Logos, Inc.
United States Bankruptcy Court for the: DISTRICT OF MARYLAND                                                                               Check if this is an

Case number (if known):        22-12491                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
ACME Paper Co.                                      Paper supplier                                                                                                $5,646.72
8229 Sandy Court
Jessup, MD 20794
Arbutus                                             New ice maker in                                                                                              $6,000.00
Refrigeration                                       kitchen
2635 Beson Ave
Halethorpe, MD
21227
Ascap                                               Lic Fee                                                                                                       $6,196.72
PO Box 331608
Nashville, TN
37203-7515
BGE                                                                                                                                                             $81,446.05
110 W Fayette Street
Baltimore, MD 21201
BSA Seafood                                         Administrative                                                                                              $10,076.25
PO Box 460                                          Claim - Raw Food
Grasonville, MD                                     Supplier
21638
BSA Seafood                                         Raw Food                                                                                                      $8,140.49
PO Box 460                                          Supplier
Grasonville, MD
21638
C&E Realty                                          Landlord                  Unliquidated                                                                      $23,985.10
Company
Hill Management
Sevices, Inc.
9640 Deereco Rd
Lutherville
Timonium, MD
21093
Comptroller of                                      Taxes owed - The          Disputed                                                                        $231,815.65
Maryland -                                          dispute is to the
Baltimore                                           penalties charge
301 West Preston                                    of $19,768.31.
Street, Suite 409
Baltimore, MD 21201


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                   Case 22-12491               Doc 69          Filed 07/26/22               Page 18 of 50



Debtor     Logos, Inc.                                                                              Case number (if known)         22-12491
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Enviro-Master                                       Administrative                                                                                                $6,752.33
PO Box 12350                                        Claim - Cleaning
Charlotte, NC 28220                                 Services
Gordon Food                                                                                                                                                     $12,974.42
Services, Inc.
P.O. Box 2244
Port Henry, NY
12974-4200
Leo's Produce                                       Purchase of fruits                                                                                          $45,000.00
7460 Conowingo                                      and vegetables
Ave.
Jessup, MD 20794
M&T Bank                                            This is an                                                                                                  $20,000.00
626 Commerce                                        overdraft bill for
Drive                                               510 Johnnys
Buffalo, NY 14228
Maryland American                                   Administrative                                                                                                $7,846.05
Waters                                              Claim - Water
260 Gateway Drive                                   supplier
4A
Bel Air, MD 21014
Monument                                            Insurance                                                                                                     $6,963.95
Insurance Services
c/o Todd Coulhard
6410 Frederick Road
Catonsville, MD
21228
Ray Enterprises                                     Purchase of                                                                                                 $48,000.00
318 Astor St                                        steaks/meats
Newark, NJ 07114
Schindler Elevators                                 Services on the                                                                                               $7,239.60
1730 Twin Spring                                    elevators
Rd. Suite 222
Halethorpe, MD
21227
SESAC-Music                                         For the stage /in                                                                                             $6,239.25
PO Box 5246                                         house speakers
New York, NY
10008-5246
Sysco                                               Adminstrative                                                                                               $18,266.41
8000 Dorsey Run                                     Claim - Raw Food
Road
Jessup, MD 20794
Sysco Baltimore                                     Administrative                                         $12,025.56                        $0.00              $12,025.56
8000 Dorsey Run                                     Claim
Road
Jessup, MD 20794
Tanny Seafood                                       Purchase of                                                                                                 $15,000.00
146-20 23rd Ave.                                    seafood
Whitestone, NY
11357


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                             Case 22-12491                            Doc 69                 Filed 07/26/22                        Page 19 of 50

Fill in this information to identify the case:

Debtor name           Logos, Inc.

United States Bankruptcy Court for the:                      DISTRICT OF MARYLAND

Case number (if known)              22-12491
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $           250,000.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           250,100.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           500,100.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           496,248.47


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           232,315.65

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           375,397.97


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           1,103,962.09




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
                                   Case 22-12491               Doc 69       Filed 07/26/22           Page 20 of 50

Fill in this information to identify the case:

Debtor name          Logos, Inc.

United States Bankruptcy Court for the:      DISTRICT OF MARYLAND

Case number (if known)        22-12491
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest
2.         Cash on hand                                                                                                                                $100.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number

4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                        $100.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Deposits - Harford Bank (Payroll - Account No. 61007390 and Operating - Account No.
           7.1.     61007170)                                                                                                                                $0.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

9.         Total of Part 2.                                                                                                                           $0.00
           Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                        page 1
                                 Case 22-12491              Doc 69      Filed 07/26/22          Page 21 of 50

Debtor       Logos, Inc.                                                             Case number (If known) 22-12491
             Name

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

    No.   Go to Part 4.
    Yes Fill in the information below.

Part 4:      Investments
13. Does the debtor own any investments?

    No.   Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials
          Food - Food is valued at
          no-resale value in a
          liquidation                                                              $0.00                                               $0.00



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                          $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                              Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.   Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
                                 Case 22-12491               Doc 69         Filed 07/26/22           Page 22 of 50

Debtor       Logos, Inc.                                                                    Case number (If known) 22-12491
             Name


    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used      Current value of
                                                                         debtor's interest          for current value          debtor's interest
                                                                         (Where available)

39.       Office furniture
          Office furniture, equipment, tables, chairs,
          kitchen equipment and computers etc. These
          items are right now an unknown value and
          could be worth more that $200,000.                                              $0.00     Liquidation                         $250,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $250,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.   Go to Part 9.
    Yes Fill in the information below.

Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of            Nature and              Net book value of          Valuation method used     Current value of
          property                               extent of               debtor's interest          for current value         debtor's interest
          Include street address or other        debtor's interest       (Where available)
          description such as Assessor           in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 3
                                 Case 22-12491              Doc 69         Filed 07/26/22              Page 23 of 50

Debtor        Logos, Inc.                                                                  Case number (If known) 22-12491
              Name

           55.1.   The Debtor has a
                   lease managed by
                   Hill Management
                   which, if transfered,
                   could have value.
                   The leasehold
                   interest and the
                   Debtor's personal
                   property and
                   equipment could by
                   worth, according to
                   Alex Cooper
                   Auctioneers,
                   $500,000 or more.
                   The Debtor
                   purchased the
                   interest out of an
                   auction for
                   significantly more
                   monies and now the
                   assets are in better          Lease hold
                   condition as                  interest in 510
                   compared to the day           Market Place,
                   the Debtor purchased          Bel Air,
                   the assets                    Maryland                               $0.00         Expert                  $250,000.00




56.        Total of Part 9.                                                                                                  $250,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.    Go to Part 11.
    Yes Fill in the information below.

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.    Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                page 4
                                         Case 22-12491                       Doc 69             Filed 07/26/22                      Page 24 of 50

Debtor          Logos, Inc.                                                                                         Case number (If known) 22-12491
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                      Current value of real
                                                                                                    personal property                     property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $100.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $250,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                          $250,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $250,100.00             + 91b.              $250,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $500,100.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
                                            Case 22-12491            Doc 69           Filed 07/26/22             Page 25 of 50

Fill in this information to identify the case:

Debtor name          Logos, Inc.

United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

Case number (if known)              22-12491
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
2.1    Sandy Spring Bank                            Describe debtor's property that is subject to a lien                  $478,022.05                  Unknown
       Creditor's Name                              Business Loan - Amount due is as of May 9,
                                                    2022 exclusive of fees and payments received
       17801 Georgia Ave                            after May 5, 2022.
       Olney, MD 20832
       Creditor's mailing address                   Describe the lien
                                                    IDOT on Property 510 Market Place, Bel Air,
                                                    MD 21014
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Sysco Baltimore                              Describe debtor's property that is subject to a lien                    $12,025.56                      $0.00
       Creditor's Name                              Administrative Claim
       8000 Dorsey Run Road
       Jessup, MD 20794
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2
                                            Case 22-12491           Doc 69           Filed 07/26/22             Page 26 of 50

Debtor       Logos, Inc.                                                                           Case number (if known)      22-12491
             Name

        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



2.3    Sysco Baltimore, LLC                        Describe debtor's property that is subject to a lien                       $6,200.86           $210,100.00
       Creditor's Name                             All assets - Creditor is also secured by an
                                                   IDOT offered by a guarantor which property
                                                   is owned by Koros, Inc., but the property is
                                                   not property of the Debtor. This is a prepre
                                                   petition claim which the Debtor's has money
       8000 Dorsey Run Road                        to pay.
       Jessup, MD 20794
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $496,248.47

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Joshua Bradley, Esquire
        Rosenberg Martin Greenberg, LLP                                                                     Line   2.1
        25 South Charles Street, 21st Floor
        Baltimore, MD 21201




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
                                    Case 22-12491                 Doc 69             Filed 07/26/22                   Page 27 of 50

Fill in this information to identify the case:

Debtor name        Logos, Inc.

United States Bankruptcy Court for the:         DISTRICT OF MARYLAND

Case number (if known)          22-12491
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                          $231,815.65          $231,815.65
          Comptroller of Maryland -                           Check all that apply.
          Baltimore                                            Contingent
          301 West Preston Street, Suite 409                   Unliquidated
          Baltimore, MD 21201                                  Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Taxes owed - The dispute is to the penalties
                                                              charge of $19,768.31.
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          Harford County Tax Department                       Check all that apply.
          2 S. Bond Street                                     Contingent
          Bel Air, MD 21014                                    Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $500.00   $500.00
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Operations                     Contingent
          P.O. Box 7346                                         Unliquidated
          Philadelphia, PA 19101                                Disputed
          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,650.00
          Accent Printers                                                     Contingent
          11110 Pulaski Highway                                               Unliquidated
          White Marsh, MD 21162                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Menu printing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,646.72
          ACME Paper Co.                                                      Contingent
          8229 Sandy Court                                                    Unliquidated
          Jessup, MD 20794                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Paper supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,231.90
          ANS Seafood                                                         Contingent
          4 Williams Street                                                   Unliquidated
          Elmsford, NY 10523                                                  Disputed
          Date(s) debt was incurred   05/13/2022 - 05/20/2022                Basis for the claim:     Administrative Claim - Seafood
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,000.00
          Arbutus Refrigeration                                               Contingent
          2635 Beson Ave                                                      Unliquidated
          Halethorpe, MD 21227                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     New ice maker in kitchen
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,196.72
          Ascap                                                               Contingent
          PO Box 331608                                                       Unliquidated
          Nashville, TN 37203-7515                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Lic Fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,300.00
         AT&T                                                       Contingent
         208 S. Akard Street                                        Unliquidated
         Dallas, TX 75202-2000                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Internet/telecom Serrvice provider
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,500.00
         BFPE International                                         Contingent
         7512 Connelley Drive                                       Unliquidated
         Hanover, MD 21076                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Fire extinguishers
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $81,446.05
         BGE                                                        Contingent
         110 W Fayette Street                                       Unliquidated
         Baltimore, MD 21201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   1000
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,361.61
         BMI                                                        Contingent
         10 Music Square East                                       Unliquidated
         Nashville, TN 37203-4399                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Music Royalties
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,596.00
         BPS                                                        Contingent
         3807 North Point Road                                      Unliquidated
         Dundalk, MD 21222                                          Disputed
         Date(s) debt was incurred 05/09/2022 - 05/29/2022
                                                                   Basis for the claim:    Administrative Claim - Security
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Brenda Famolaro                                            Contingent
         32 Tolchester Lane                                         Unliquidated
         Bel Air, MD 21014
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Litigation
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,076.25
         BSA Seafood                                                Contingent
         PO Box 460                                                 Unliquidated
         Grasonville, MD 21638                                      Disputed
         Date(s) debt was incurred 5/12/2022 - 5/17/2022
                                                                   Basis for the claim:    Administrative Claim - Raw Food Supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,140.49
         BSA Seafood                                                Contingent
         PO Box 460                                                 Unliquidated
         Grasonville, MD 21638                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Raw Food Supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $23,985.10
         C&E Realty Company                                         Contingent
         Hill Management Sevices, Inc.                              Unliquidated
         9640 Deereco Rd
                                                                    Disputed
         Lutherville Timonium, MD 21093
         Date(s) debt was incurred
                                                                   Basis for the claim:    Landlord
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $400.00
         Comcast Internet                                           Contingent
         1702 John F. Kennedy Blvd                                  Unliquidated
         Philadelphia, PA 19103                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Internet
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $351.70
         Delta Restaurant Equipment Service LLC                     Contingent
         2220 A Jaycee Drive                                        Unliquidated
         Joppa, MD 21085                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Fryer
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,500.00
         Direct TV                                                  Contingent
         2230 E. Imperial Hwy                                       Unliquidated
         El Segundo, CA 90245                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    tv service provider
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,500.00
         Ecolab                                                     Contingent
         1 Ecolab Place                                             Unliquidated
         Saint Paul, MN 55102                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Sanitation Purchases
         Last 4 digits of account number                           Leasing of dishwasher through US Foods
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,752.33
         Enviro-Master                                              Contingent
         PO Box 12350                                               Unliquidated
         Charlotte, NC 28220                                        Disputed
         Date(s) debt was incurred   05/25/2021 - 05/17/2022       Basis for the claim:    Administrative Claim - Cleaning Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,000.00
         GFL - Environmental                                        Contingent
         3634 Conowingo Rd                                          Unliquidated
         Street, MD 21154                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Garbage collection
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,250.00
         GFL Environmental                                          Contingent
         3634 Conowingo Road                                        Unliquidated
         Street, MD 21154                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trash Company
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $77.00
         Golden Malted                                              Contingent
         PO Box 129                                                 Unliquidated
         Concordville, PA 19331-0128                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Mixed Bags.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,974.42
         Gordon Food Services, Inc.                                 Contingent
         P.O. Box 2244                                              Unliquidated
         Port Henry, NY 12974-4200                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Harford County                                             Contingent
         Bureau of Revenue Collections                              Unliquidated
         P.O. Box 609                                               Disputed
         Bel Air, MD 21014
                                                                   Basis for the claim:    Taxes and Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Harford County Liquor Control                              Contingent
         16 N. Main Street                                          Unliquidated
         Bel Air, MD 21014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,500.00
         J & E Linen                                                Contingent
         1613 Robin Cir                                             Unliquidated
         Forest Hill, MD 21050                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    linen & laundry service for restaurants
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,000.00
         Jadoo LLC                                                  Contingent
         d/b/a Yia Yias Pizzeria                                    Unliquidated
         8415 Philadelphia Road                                     Disputed
         Baltimore, MD 21287
                                                                   Basis for the claim:    Advance of legal bankruptcy retainer
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1.00
         Koros, Inc.                                                Contingent
         6300 Baltimore National Pike                               Unliquidated
         Catonsville, MD 21228                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Insider Contribution
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1.00
         Koros, LLC                                                 Contingent
         6300 Baltimore National Pike                               Unliquidated
         Catonsville, MD 21228                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Insider Contribution
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,743.52
         L&J Refridgeration and Air Conditioning                    Contingent
         PO Box 1105                                                Unliquidated
         Bel Air, MD 21014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Refridgeration and Air Conditioning
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $45,000.00
         Leo's Produce                                              Contingent
         7460 Conowingo Ave.                                        Unliquidated
         Jessup, MD 20794                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Purchase of fruits and vegetables
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1.00
         Louis Korologos                                            Contingent
         1 Mountain Road                                            Unliquidated
         Dundalk, MD 21222                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Insider contribution
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $20,000.00
         M&T Bank                                                   Contingent
         626 Commerce Drive                                         Unliquidated
         Buffalo, NY 14228                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    This is an overdraft bill for 510 Johnnys
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,846.05
         Maryland American Waters                                   Contingent
         260 Gateway Drive                                          Unliquidated
         4A                                                         Disputed
         Bel Air, MD 21014
                                                                   Basis for the claim:    Administrative Claim - Water supplier
         Date(s) debt was incurred 4/22/2022 - 8/29/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,202.00
         Mattes Seafood                                             Contingent
         921 Old Philadelphia Road                                  Unliquidated
         Aberdeen, MD 21001                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Seafood
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,963.95
         Monument Insurance Services                                Contingent
         c/o Todd Coulhard                                          Unliquidated
         6410 Frederick Road                                        Disputed
         Catonsville, MD 21228
                                                                   Basis for the claim:    Insurance
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1.00
         Nick Moriatis                                              Contingent
         543 Marketplace Drive                                      Unliquidated
         Bel Air, MD 21014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Insider
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1.00
         P. Moriatis                                                Contingent
         543 Marketplace Drive                                      Unliquidated
         Bel Air, MD 21014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Insider Contribution
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         PureForce, a division                                      Contingent
         of U.S. Foods                                              Unliquidated
         2880 Comly Road                                            Disputed
         Philadelphia, PA 19154
                                                                   Basis for the claim:    This is the same lease as the Ecola lease
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $48,000.00
         Ray Enterprises                                            Contingent
         318 Astor St                                               Unliquidated
         Newark, NJ 07114                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Purchase of steaks/meats
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,115.52
         Roberts Oxygen Company, Inc.                               Contingent
         15830 Redland Road                                         Unliquidated
         Bel Air, MD 21014                                          Disputed
         Date(s) debt was incurred 3/10/22 - 6/30/2022
                                                                   Basis for the claim:    Administrative Claim - CO2 for carbination
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $615.35
         Roma Gourmet Foods                                         Contingent
         6801 Eastern Avenue                                        Unliquidated
         Suite 230                                                  Disputed
         Baltimore, MD 21224
                                                                   Basis for the claim:    Administrative Claim - Raw Food
         Date(s) debt was incurred 06/24/2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,239.60
         Schindler Elevators                                        Contingent
         1730 Twin Spring Rd. Suite 222                             Unliquidated
         Halethorpe, MD 21227                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services on the elevators
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,239.25
         SESAC-Music                                                Contingent
         PO Box 5246                                                Unliquidated
         New York, NY 10008-5246                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    For the stage /in house speakers
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $257.05
         Skylight Creative Ideas, Inc.                              Contingent
         13 North Main Street                                       Unliquidated
         Bel Air, MD 21014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Server Aprons
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $18,266.41
         Sysco                                                      Contingent
         8000 Dorsey Run Road                                       Unliquidated
         Jessup, MD 20794                                           Disputed
         Date(s) debt was incurred 05/10/2022 - 05/19/2022
                                                                   Basis for the claim:    Adminstrative Claim - Raw Food
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $15,000.00
         Tanny Seafood                                              Contingent
         146-20 23rd Ave.                                           Unliquidated
         Whitestone, NY 11357                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Purchase of seafood
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         The Hartford Insurance                                     Contingent
         690 Asylum Ave                                             Unliquidated
         Hartford, CT 06155                                         Disputed
         Date(s) debt was incurred
                                                                                  This is an old policy for about $9,000 that our broker
                                                                   Basis for the claim:
         Last 4 digits of account number                           Stascon Insurance never cancelled.
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1.00
         Tie Mortos, Inc.                                           Contingent
         6300 Baltimore National Pike                               Unliquidated
         Catonsville, MD 21228                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Insider
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1.00
         TJL, Inc.                                                  Contingent
         1 Mountain Road                                            Unliquidated
         Pasadena, MD 21122                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Insider Contribution
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $79.50
         Toast, Inc.                                                Contingent
         401 Park Drive                                             Unliquidated
         Boston, MA 02215                                           Disputed
         Date(s) debt was incurred   06/15/2022 - 7/14/2022        Basis for the claim:    Administrative Claim - Monthly Software
         Last 4 digits of account number                           Subscription
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1.00
         Tyros, Inc.                                                Contingent
         9010 Bel Air Road                                          Unliquidated
         Nottingham, MD 21236                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Insider Contribution
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         U.S. Foods                                                 Contingent
         2255 High Hill Road                                        Unliquidated
         Browns Mills, NJ 08015                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Lease of a Ecolab Dishwaher at $400.00 per month
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $384.48
         Verizon                                                    Contingent
         P.O. Box 15124                                             Unliquidated
         Albany, NY 12212                                           Disputed
         Date(s) debt was incurred   5/9/2022                      Basis for the claim:    Administrative Claim - Phones & Internet
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 9 of 10
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Debtor       Logos, Inc.                                                                            Case number (if known)            22-12491
             Name

3.55      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $1.00
          Yia Yia Bakery                                                    Contingent
          9415 Philidelphia Road                                            Unliquidated
          Cumnock, NC 27237                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Insider contribution
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Bristol Credit, Inc
          40 York Road, Suite 300                                                                   Line      3.14
          Towson, MD 21204
                                                                                                          Not listed. Explain

4.2       Central Acceptance Co., Inc.
          406 S. High Street                                                                        Line      3.36
          Baltimore, MD 21202
                                                                                                          Not listed. Explain

4.3       Hartford Fire Insurance Company
          Bankruptcy Unit, HO2-R                                                                    Line      3.48
          Hartford, CT 06155
                                                                                                          Not listed. Explain

4.4       John C. Cannizzaro, Esquire
          IceMiller                                                                                 Line      3.23
          250 West Street, Suite 700
          Columbus, OH 43215                                                                              Not listed. Explain


4.5       Jonathan D. Nelson, Esquire
          Ferguson, Schetelich & Ballew, P.A.                                                       Line      3.11
          100 S. Charles Street
          Suite 1014                                                                                      Not listed. Explain

          Baltimore, MD 21201

4.6       Thomas C. Costello, Esquire
          Costello Law Group                                                                        Line      3.11
          409 Washington Ave.
          Suite 410                                                                                       Not listed. Explain

          Towson, MD 21204

4.7       United States Liability Insurance Co.
          1190 Devon Park Drive                                                                     Line      3.36
          Wayne, PA 19087
                                                                                                          Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
5a. Total claims from Part 1                                                                            5a.          $                    232,315.65
5b. Total claims from Part 2                                                                            5b.    +     $                    375,397.97

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.          $                       607,713.62


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 10
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Fill in this information to identify the case:

Debtor name        Logos, Inc.

United States Bankruptcy Court for the:      DISTRICT OF MARYLAND

Case number (if known)      22-12491
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease of dishwasher
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Ecolab
             List the contract number of any                                        1 Ecolab Place
                   government contract                                              Saint Paul, MN 55102


2.2.         State what the contract or           Real Property Lease
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Hill Management Sevices, Inc.
             List the contract number of any                                        9640 Deereco Rd
                   government contract                                              Lutherville Timonium, MD 21093


2.3.         State what the contract or           Lease dated October
             lease is for and the nature of       10, 2017 - This is the
             the debtor's interest                same lease as the
                                                  listed Ecolabs lease,
                                                  but with an additional
                                                  address.
                State the term remaining                                            PureForce a Division of
                                                                                    U.S. Foods
             List the contract number of any                                        2880 Comly Road
                   government contract                                              Philadelphia, PA 19154




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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                                               United States Bankruptcy Court
                                                          District of Maryland
 In re   Logos, Inc.                                                                             Case No.     22-12491
                                                                     Debtor(s)                   Chapter      11




                        VERIFICATION OF CREDITOR MATRIX - AMENDED


I, the Vice President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     July 26, 2022                                  /s/ Mohammed Jadoo
                                                         Mohammed Jadoo/Vice President
                                                         Signer/Title
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    Accent Printers
    11110 Pulaski Highway
    White Marsh, MD 21162



    ACME Paper Co.
    8229 Sandy Court
    Jessup, MD 20794



    ANS Seafood
    4 Williams Street
    Elmsford, NY 10523



    Arbutus Refrigeration
    2635 Beson Ave
    Halethorpe, MD 21227



    Ascap
    PO Box 331608
    Nashville, TN 37203-7515



    AT&T
    208 S. Akard Street
    Dallas, TX 75202-2000



    BFPE International
    7512 Connelley Drive
    Hanover, MD 21076



    BGE
    110 W Fayette Street
    Baltimore, MD 21201



    BMI
    10 Music Square East
    Nashville, TN 37203-4399
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BPS
3807 North Point Road
Dundalk, MD 21222



Brenda Famolaro
32 Tolchester Lane
Bel Air, MD 21014



Bristol Credit, Inc
40 York Road, Suite 300
Towson, MD 21204



BSA Seafood
PO Box 460
Grasonville, MD 21638



C&E Realty Company
Hill Management Sevices, Inc.
9640 Deereco Rd
Lutherville Timonium, MD 21093



Central Acceptance Co., Inc.
406 S. High Street
Baltimore, MD 21202



Comcast Internet
1702 John F. Kennedy Blvd
Philadelphia, PA 19103



Comptroller of Maryland - Baltimore
301 West Preston Street, Suite 409
Baltimore, MD 21201



Delta Restaurant Equipment Service LLC
2220 A Jaycee Drive
Joppa, MD 21085
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Direct TV
2230 E. Imperial Hwy
El Segundo, CA 90245



Ecolab
1 Ecolab Place
Saint Paul, MN 55102



Enviro-Master
PO Box 12350
Charlotte, NC 28220



GFL - Environmental
3634 Conowingo Rd
Street, MD 21154



GFL Environmental
3634 Conowingo Road
Street, MD 21154



Golden Malted
PO Box 129
Concordville, PA 19331-0128



Gordon Food Services, Inc.
P.O. Box 2244
Port Henry, NY 12974-4200



Harford County
Bureau of Revenue Collections
P.O. Box 609
Bel Air, MD 21014



Harford County Liquor Control
16 N. Main Street
Bel Air, MD 21014
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Harford County Tax Department
2 S. Bond Street
Bel Air, MD 21014



Hartford Fire Insurance Company
Bankruptcy Unit, HO2-R
Hartford, CT 06155



Hill Management Sevices, Inc.
9640 Deereco Rd
Lutherville Timonium, MD 21093



Internal Revenue Service
Centralized Insolvency Operations
P.O. Box 7346
Philadelphia, PA 19101



Ioannis Korologo
9618 Susies Way
Ellicott City, MD 21042



J & E Linen
1613 Robin Cir
Forest Hill, MD 21050



Jadoo LLC
d/b/a Yia Yias Pizzeria
8415 Philadelphia Road
Baltimore, MD 21287



John C. Cannizzaro, Esquire
IceMiller
250 West Street, Suite 700
Columbus, OH 43215
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Jonathan D. Nelson, Esquire
Ferguson, Schetelich & Ballew, P.A.
100 S. Charles Street
Suite 1014
Baltimore, MD 21201



Joshua Bradley, Esquire
Rosenberg Martin Greenberg, LLP
25 South Charles Street, 21st Floor
Baltimore, MD 21201



K.R. & B.S., Inc.
c/o Paul M. Smith, President
8102 Loch Raven Blvd.
Towson, MD 21204



K.R. and B.S., Inc.
c/o Francis A. Sauer, Resident Agent
8 E. Pleasant Street
Baltimore, MD 21202



Koros, Inc.
6300 Baltimore National Pike
Catonsville, MD 21228



Koros, LLC
6300 Baltimore National Pike
Catonsville, MD 21228



L&J Refridgeration and Air Conditioning
PO Box 1105
Bel Air, MD 21014



Leo's Produce
7460 Conowingo Ave.
Jessup, MD 20794
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Louis Korologos
1 Mountain Road
Dundalk, MD 21222



M&T Bank
626 Commerce Drive
Buffalo, NY 14228



Maryland American Waters
260 Gateway Drive
4A
Bel Air, MD 21014



Mattes Seafood
921 Old Philadelphia Road
Aberdeen, MD 21001



Monument Insurance Services
c/o Todd Coulhard
6410 Frederick Road
Catonsville, MD 21228



Nick Moriatis
543 Marketplace Drive
Bel Air, MD 21014



P. Moriatis
543 Marketplace Drive
Bel Air, MD 21014



PureForce a Division of
U.S. Foods
2880 Comly Road
Philadelphia, PA 19154



PureForce, a division
of U.S. Foods
2880 Comly Road
Philadelphia, PA 19154
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Ray Enterprises
318 Astor St
Newark, NJ 07114



Roberts Oxygen Company, Inc.
15830 Redland Road
Bel Air, MD 21014



Roma Gourmet Foods
6801 Eastern Avenue
Suite 230
Baltimore, MD 21224



Sandy Spring Bank
17801 Georgia Ave
Olney, MD 20832



Schindler Elevators
1730 Twin Spring Rd. Suite 222
Halethorpe, MD 21227



SESAC-Music
PO Box 5246
New York, NY 10008-5246



Skylight Creative Ideas, Inc.
13 North Main Street
Bel Air, MD 21014



Sysco
8000 Dorsey Run Road
Jessup, MD 20794



Sysco Baltimore
8000 Dorsey Run Road
Jessup, MD 20794
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Sysco Baltimore, LLC
8000 Dorsey Run Road
Jessup, MD 20794



Tanny Seafood
146-20 23rd Ave.
Whitestone, NY 11357



The Hartford Insurance
690 Asylum Ave
Hartford, CT 06155



Thomas C. Costello, Esquire
Costello Law Group
409 Washington Ave.
Suite 410
Towson, MD 21204



Tie Mortos, Inc.
6300 Baltimore National Pike
Catonsville, MD 21228



TJL, Inc.
1 Mountain Road
Pasadena, MD 21122



Toast, Inc.
401 Park Drive
Boston, MA 02215



Triantafillos Korologos
18 Apple Tree Court
Catonsville, MD 21228



Tyros, Inc.
9010 Bel Air Road
Nottingham, MD 21236
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U.S. Foods
2255 High Hill Road
Browns Mills, NJ 08015



United States Liability Insurance Co.
1190 Devon Park Drive
Wayne, PA 19087



Verizon
P.O. Box 15124
Albany, NY 12212



Yia Yia Bakery
9415 Philidelphia Road
Cumnock, NC 27237
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                                     EXHIBIT 2
                        (Notice to New Creditors Pursuant to Rule 1009-1)




{00249063.DOCX.2}
                               Case
                                Case22-12491
                                      22-12491 Doc
                                                Doc698 Filed
                                                       Filed07/26/22
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 Information to identify the case:
 Debtor
                   Logos Incorporated                                                          EIN 26−3899073
                   Name


 United States Bankruptcy Court District of Maryland
                                                                                               Date case filed for chapter 11 5/9/22
 Case number: 22−12491 DER                    Chapter: 11


Official Form 309F2 (For Corporations or Partnerships under Subchapter V)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this case. Visit
http://www.mdb.uscourts.gov/ and click on Filing Without An Attorney for additional resources and information.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       Logos Incorporated


  2. All other names used in the dba 510 Johnnys
     last 8 years


  3. Address                                  510 Market Place Drive
                                              Bel Air, MD 21014

                                              Robert B. Scarlett                                         Contact phone (410) 468−3100
                                              Scarlett & Croll, P.A.                                     Email: RScarlett@ScarlettCroll.com
  4. Debtor's attorney                        201 N. Charles Street
      Name and address                        Suite 600
                                              Baltimore, MD 21201−4110


  5. Bankruptcy trustee                       Lawrence A. Katz                                             Contact phone 703−584−8362
      Name and address                        Hirschler Fleischer                                          Email: lkatz@hirschlerlaw.com
                                              8270 Greensboro Drive
                                              Suite 700
                                              Tysons, VA 22102

  6. Bankruptcy clerk's office                Baltimore Division                                          Hours open:
      Documents in this case may be filed     101 West Lombard Street, Ste. 8530                          8:45 − 4:00 PM
      at this address.                        Baltimore, MD 21201
      You may inspect all records filed in                                                                Contact phone (410) 962−2688
      this case at this office or online at
      https://pacer.uscourts.gov.             Clerk of the Bankruptcy Court:
                                              Mark A. Neal                                                Date: 5/12/22

                                                                                                           For more information, see page 2 >

Official Form 309F2 (For Corporations or Partnerships under Subchapter V)                Notice of Chapter 11 Bankruptcy Case                         page 1
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                               Case22-12491
                                     22-12491 Doc
                                               Doc698 Filed
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                                                            05/12/22 Page
                                                                     Page50
                                                                          2 of
                                                                            of250

Debtor Logos Incorporated                                                                                                          Case number 22−12491


  7. Meeting of creditors
      The debtor's representative must    June 1, 2022 at 10:00 AM
      attend the meeting to be questioned                                                                  Location:
      under oath.                         The meeting may be continued or adjourned to a later              See https://go.usa.gov/xeHZq
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
      required to do so.


  8. Proof of claim deadline                  Deadline for filing proof of claim:
                                              For all creditors (except a governmental unit): 7/18/22
                                              For a governmental unit: 11/7/22

                                              A proof of claim is a signed statement describing a creditor's claim. A Proof of Claim may be filed
                                              electronically from the court's web site at http://www.mdb.uscourts.gov/content/electronic−filing−claims. A
                                              proof of claim form may be obtained at www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                              You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                              rights, including the right to a jury trial.


  9. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint:


                                                If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                have any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  12. Discharge of debts                      debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                              paying the filing fee in the bankruptcy clerk's office by the deadline.


                                              The U.S. Bankruptcy Court for the District of Maryland offers all parties the ability to receive court notices
  13. Debtor electronic
      bankruptcy noticing
                                              and orders via email, instead of U.S. mail. To participate, debtors must complete and file a DeBN request
                                              form with the Court −− additional information is available under Programs & Services at
                                              http://www.mdb.uscourts.gov. Other parties (non−debtors) can register at ebn.uscourts.gov.




Official Form 309F2 (For Corporations or Partnerships under Subchapter V)                  Notice of Chapter 11 Bankruptcy Case                           page 2
